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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,

Plaintiff, Case No.: 22-cr-115-JFH
vs. Date: 1/5/2023
Court Time: 2:00 p.m.
Izabella Marie Boling,
Defendant(s). MINUTE SHEET - ARRAIGNMENT
Christine D. Little, U.S. Magistrate Judge T. Calico, Deputy Clerk Magistrate Courtroom 1
Counsel for Plaintiff; David Nasar (PACK, Cela tor
Counsel for Defendant: Scott Anthony Troy , Appt.
Interpreter: C) sworn
Defendant appears ia-persen for Arraignment on: CI Indictment; & Information; CL) Complaint;
UN es Awith Counsel; CJ Counsel waived; C] w/o Counsel;
(C4 RQefendant acknowledges receipt of Information Indictment: O Read; Reading waived;

G&Defendant advised of charge;
Defendant’s name as reflected in the Information;

CA Verified in open court as the true and correct legal name
C) Corrected by interlineation to

to reflect Defendant’s true and correct legal name and all previous filings are amended by interlineation to reflect same.
QO) Unable to verify in open court as the true and correct legal name: 0 U.S. Attorney; C Deft’s Att. to verify and advise court;

o4-Asraignment held and Defendant pleads Not Guilty; Court accepts plea Schedule to be entered;

Defendant waives: (fImdictment; © Detention Hearing; CO Separate Representation (Waivers approved by Court;
C) Arraignment continued to: at

L) Detention Hearing scheduled: at

C) Defendant allowed to stand on present bond; C) Government stipulates, findings made
(CZ Befendant remanded to custody of U.S. Marshal

Additional Minutes:

Arraignment on Felony Information (7/2021)
